Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 1 of 13 Page|D #:7

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|N THE C|RCU|T COURT OF COOK CQUNTY, lLLlNOlS
COUNTY DEPARTMENT, LAW DlVlSlON

 

No. 2016-L~063013
ALlcE cATALANO;
* (Name all parties)
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Summons

T° each Defendam: -SUMMONS \:IALIAS - SUMMONS

YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is
hereto attached, or otherwise file your appearance, and pay the required fee, in the Otfice of the Clerk of this Court at the

following |ocatlon:

I:]Richard J. Da|ey Center, 50 W. Washington, Room .Chl€ag°. ll|ln°i$ 60602

Distril:t 2 - Skolcie .District 3 - Ro||ing Meadows EDietrict d - Ma wood
600 Gld Drchard Rd. 2121 Euclid 1500 Maybrun Ave.
Skokie, lL 60077 Rolling Meadows, lL 60008 Maywood, lL 60153
muistrict 5 - Bridgeview l:]Disirict 6 - Marltham E(‘.‘hild Support
10220 S. 7Gih Ave. 18501 S. Kedzle Pkwy. 28 North Clari¢ St., Room 200
Bridgev|ew, |L 6045`5 Markham, lL 60426 Chicago, ll|inois 60602

You must file within 30 days after service of this Summons, not counting the day of service.
lF YOU FA|L TO DO SO, A JUDGMENT B¥ DEFAULT MAY BE ENTERED AGA|NST YOU FOR THE REL|EF
REQUESTED lN THE COMPLA|NT.

Te the officer:

This Summons must he returned by the officer or other person to whom lt was given for service. wlth endorsement

of service and fees. if any, immediately after service. |f service cannot be made, this Summons shall be returned so endorsed.
This Summons may not be served later than 30 days after its date.

 

 

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Atty. N\:r.: wlTNESs, Wednesday. annie l 2016
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ALJCE CATALAND

 

Atty. for:_ u
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City/StatelZip: DES PU|NES‘ "` mms (To be inserted by officer on copy left with defendant
or other person)

 

 

Telephone: 184?} 824-nasa

 

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ls DOROTHY BROWN, CLERK OF THE C|RCU|T COURT OF COOK COUNTY, lLLlNOlS EXH|B|T

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Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 2 of 13 Page|D #:8

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Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 3 of 13 Page|D #:9

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Alice Catalano,: Plii-intiff, )
)

v. No'.
Mena.rd., Inc., dfbfa Menards, Defendant )

COMPLAB f E OR PE&SOEAL INJURY

Plaintitf Alice Catalano, by and through her attorney Ellen A. Yearwood of Yearwood
and Associates, Ltd, in support of her Complaint for Personal Injury, states:

1. Plaintiff Catalano and her mother drove to the Menards store at 740 E. Rand' Road, Mt
Prospect lL 60056, on Oct. 4, 2015.

2. Catalano purchased 12 bags of lava rock at the building materials counter, paid cash,
and was told by employee Charles L to drive to the side of Menards and through a service gate to
the outdoor landscaping area where a Menards employee would load her vehicle with the lava
rock. See Exhibit A, packing list to be used to pick up the lava rock.

A 3. Catalano followed the instructions Inside the gated area a Menards security gdard told
her where the lava rock was located and directed her to drive there. She did.

4. Oncel at the lava rock location, Catalano found no lava rock and asked a Menards
employee where it was. That employee said the store was sold out and directed Catalano back
into the store to get a refund. _

5. Catalano drove toward the gate out of the secured area, the security guard checked her
vehicle to make sure there was nothing in it, and she was allowed to exit the gate.

6. Catalano returned to the building materials counter within the store and asked for her

refund from Charles L. Charles apologized for selling items that were not in stock and discussed

the matter With another employee, who appeared to be correcting Charles about how to avoid

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Case: 1:16-Cv-O3367 Document #: 1-1 Filed: 03/16/16 Page 4 of 13 Page|D #:10

selling items not in stock. Charles then explained he could not give a refund and the refund
Would have to be processed at the return counter;.

7, Catalano Went__.to the return counter, on the other side of the large store, waited>in line
_for some time, and received a refund from Lizett.' See exhibit B, refund receipt for 12 bags of
lava rock, dated Oct. 4, 2015.

8. Catalano turned to exit the store through large, ceiling height, sliding doors. The doors
hit Catalano on the lett side of her body while she was trying to exit. The doors slammed into her
lett side and head. It was unclear why the sensors` did not “see” Catalano and stop the doors from

*`iclosing. Catalano Was stunned and hurt very badly.

9. Catalano walked a few steps forward and could not see anything; her eyes did not

l §
§ § z ork. She recalls some Women asked if she were OK. She managed to walk to her car where her
1>*2@ ` ‘
.' ,_] 0\ Q '_‘
l *;c‘ §§ §§ other was waiting. Catalano told her mother she was hurt very badly and needed to go back to
}§§aw
' 0 g §§ ihe store to report the mjury.
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jl` 10. éatalano returned to the store near the returns counter and asked to speak to a
anager.. She reported to the manager that she was just injured by the sliding doors, that she did
not think the sensor sensed she was there, and that the door slammed into her left side. The
(male) manager asked where she was hurt and Catalano told him the door hit heron her whole
left side and that her arm and body were really hurting. Catalano pointed to Lizett and said she
most likely saw the incident because she was right there and was taking care of her just before
the incident The manager declined to call Lizett over-to inquire if she witnessed the injury. He
asked if Catalano wanted an ambulance and Catalano declined, saying her mother would drive
her for help. On information and belief, there were video cameras Which captured the incident

and should be preserved for inspection and trial.

 

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PAGE 3 of 10

Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 5 of 13 Page|D #:11

ll. Catalano left the store dazed and confused and in pain. On the way horne her head

' began hurting and she noticed swell ing and a goose egg formed on the left side of her forehead.

She felt nauseated, sore, and tired, but her head hurt so much she couldn’t rest. Resting remained
difficult the entire evening.

12. The next clay Oct. 5, 2015 , Catalano tried to" work but could not concentrate and had
dilliculty`communicah'ng both verbally and in writing. She struggled through work all day and

then went to the Lutheran General Hospital Emergency Room on Dempster Street in Park Ridge,

lllinois.

§ 13. At the Emergency Room on Oct. 5, 2015, Catalano was evaluated by a triage nurse
l

lind given ahead CT scan. Catalano waited in the ER for a long time, the ER waiting room was

hverflowi`rig". with patients, but they were all waiting and not moving Catalano advised the triage

time she was leaving and would see her general physician Dr. Steven Wolfinan, who was gone
lt the day.

14. On Oct. 6, 2015, Catalano at 8 a.m. saw Dr. Visotsky at Illinois Bone and Joint

- vjut:itute, 9000 Waukegan Rd, Monon Grove, lllinois. She was told he only treated arms and

shoulders Her left shoulder and arm were X-rayed and she was told she had no broken bones in
them, only bruising. She told the doctor she had pain across her chest and back and a bump on,
her head. Visotsky advised her to see her general physician
15 On Oct 6,2015,Cata1an0 at ll a. m saw Dr. Olivia Forys, associate to Dr Steven
Wolfman, at 9301 W. GolfRd, Suite 302, Des Plaines, IL 60016. She advised Catalano that
Catalano had a concussion and asked her to return+.to Lutheran General for chest X-rays.
’ 16. Catalano returned to Lutheran General on Oct. 6, 2015, and had chest X-rays. Her

head and body were in pain and she was struggling. She reviewed the report of the triage nurse

Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 6 of 13 Page|D #:12

and found errors in it, so she asked to amend the report The nurse was extremely busy, but
Catalano succeeded in getting the amendment made.

17. On t)ct. 7, 2015, Dr. Forys called Catalano and advised Catalano that Catalano had no
broken bones but required rest for the concussion and needed to have her eyes checked Dr. Forys
did not say how long Catalano should rest nor give any details on what, exactly, Catalano could
do or riot do.

18.0n Oct. 10, 2015, Catalano saw eye doctor Breunig at ChicagoiGlaucoma Consultants
at 2640 Patn`ot Blvd, Suite 100, Glenview I.L 60026. Pressure was high in both her eyes and she

/.-__._.,.....,_

l _` as prescribed eye drops to reduce the pressure

19. Catalano continued to work in :Octob_er, 2015, but had diMculty with headaches and

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} §§ m c lio:ndy aches. Her sleep was interrupted and she felt her head was like jello. She was wobhly and
§§ §§ {e cit dizzy when she bent down. She had intermittent pain in her arm, back, and chest. Her
§§§§\T alane'e was off and she could not bend down without her head hurting Others would have taken
§§ the rest of the month off, but Catalano' is a hard worker and thought she could do her work She

continued-to work through the difficulties

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20. On Oct. 26, 2015, Catalano went for a massage to loosen her muscles. She felt it
helped but her arm and back were sore to the touch.

21. On Oct. 27, 2015, Catalano left for a previously planned vacation.

22. On Oct. 29, 2015, Catalano had another massage to relax her muscles.

23. On Oct. 30, 2015, Catala.no, an experienced and practiced bicyclist, was riding a
bicycle. She felt dizzy, put _her right foot down to stabilize herself, rolled her right ankle, and
fell. She had to have an ambulance and a hospital visit. Her right ankle was sprained and her

lower back had bad bruising. She was in extreme pain, could not walk, and needed a wheelchair

Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 7 of 13 Page|D #:13

and crutches to get around. The next day, Oct. 31, 2015, she returned from vacation

24. Nov` 2 through Nov. 5, 2015, Catalano took sick leave from work totaling 32 hours
due to the injuries from the bicycle accident caused by the dizziness from the sliding door
incident §

25. Nov. 13, 2015, Catalano took 2 hours sick leave from work and saw Dr. Garapati at

lllinois Bone and Joint Institute for her right ankle. She had x-rays and was referred for physical

therapy two weeks later.

26. Nov. 25, 2015, Catalano went to physical therapy at lllinois Bone and Joint Institute,

‘?O(]_Rand Road, Des Plaines IL 60016.
l 27. Dec. l, 2015, Catalano met with Dr. Forys again, who advised Catalano to see a
l

Temologist- and a physical therapist for vestibular rehab. Dr Forys advised Catalano that her

dquilibrium was off and that 1t was likely the result of the door injury disturbing the crystals in

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l?er ear bones.

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28. Dec. 3, 201 S, Catalano took` ‘/z hour sick leave for another physical therapy

 

ppo'inunent at lllinois Bone and Joint lnstitute.

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29. Dec. 9, 2015, Catalano took 2 hours sick leave to see Dr. Pieroth, neurologist, 2400
Chestnut Ave, Glenview IL, to follow up on the concussion, a referral from Dr. Forys. Dr.
Pierot_h added cervical and concussion to the vestibular physical therapy prescribed by Dr. Forys.
30. Dec. lO, 2015, Catalano had physical therapy al IBJ. The therapist advised the 3"l toe
on her right foot was weak and had no resistance and to mention that to Dr. Garapati. l
él. Dec. l 1, 2015, Catalano took 1.5 hours sick leave from work for a followup
appointment with Dr. Garapati at [BJ. He advised to add more physical therapy sessions and

consulted with Dr. Visotsky to add Catalano’s left arm into physical therapy because there was

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PAGE 6 of 10

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Case: 1:16-Cv-O3367 Document #: 1-1 Filed: 03/16/16 Page 8 of 13 Page|D #:14

i;ain andf'difliculty sleeping on her left side.

32. Dec. 14, 2015, Catala.no had vestib'ular physical therapy at Optimum Physical
Therapy, 9301 W. Golf Rd,lDes Plaines [L 60018';

33. Dec. 17, 22, and 29, Catalano had physical therapy appointments at IBJ.

34. Jan. 2, 2016, Catalano’s daughter was ‘-married. Catalano could not Wear 3 inch heels.
While traveling her ankle swelled frequently

35. Jan. 6, 2016, Catalano went to physical therapy at lBJ. Technician Crystal said that
two ribs were dislocated which was why there was so much chest pain. She performed physical
' liberapy on the ribs. Catalano was very. sore throughout that evening and the next day.
l 36 Jan.1113,18,20,25,and 27 2016, Catalano had physical therapy appointments at

J. As of Jan. 18, the physical therapy was getting more aggressive and Catalano experienced

` ain'fi'equen\`.ly.

37. Jan. 28, 2016, Catalano at work attempted to access a secured area using the wrong
adge. A co-worker explained to her she was using the wrong badge but she could not
jinderstand that; she was in a fog. She was asked to leave with her co-worker. Later that day her
acc-worker explained again that she was using the wrong badge and she understood

38. Jan. 31, 2016, Catalano did a lot of walking at a shopping mall and on her return
home was in a lot of pain.

39. Feb. l, 3, 8, and 10, 2016, Catalano has Scheduled physical therapy appointments atl
IBJ.

40. Catalano remains somewhat dizzy and remains in need of physical therapy for her
injuries. However, her prognosis is for a full recovery.

41. Catalano’s medical records stemming from her Oct. 4, 2015, injury, and the Qct. 30,

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2/10/2016 1139 PM
PAGE 7 of 10

Case: 1:16-Cv-O3367 Document #: 1-1 Filed: 03/16/16 Page 9 of 13 Page|D #:15

2015, resulting injury, are voluminous She has lost time from work, has incurred significant
medical expenses, and has experienced pain and suffering which is ongoing though diminishing
over time. Her damages are in excess of $50,000.00.

WHEREFORE, Plaintiff Catalano respectfully requests:

A. That this Court FIND that Catalano’s.injuries, pain, suffering medical expenses, and
lost time from work were proximately caused by the incident at Menards in Mt Prospect, lllinois,

,011 Oct. 4, 2015.

B. That this Court FlND that Defendant is=liable for Catalano’s damages for medical

§xpenses, lost time from work, pain, and suffering, and determine their exact amount.

C. That this Court award prejudgment interest on Catalano’s damages in a reasonable
amoun .

D. That this Court enter ludgment against Defendant and in favor of Plaintiff in the
amount of Catalano’s damages plus prejudgment interest plus costs of suit, and

E. That this Court enter such other and further relief as it deems just and equitable

 

ALICE cArALANo

    

By: Ellen A. ' '

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Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 10 of 13 Page|D #:16

VEIUFICATION BY CERTIFICA]`ION

The undersigned, being fully aware of the penalties for perjury pursuant to Section 5/1-
109 of the lllinois Code of Civil Pi'ocedure, certifies that she has read the allegations of the
foregoing Complaint for Personal Injury and that they'»are all true and correct, except those made
on information and belief and, as to those, that she believes them to be mie’and correct.

Alice Catalano

Yearwood and Associates, Ltd

636 S. Riveer, Suite 104

Des I_’laines IL 60016
1347~'8_24-0358 ph, 34?-824~6?71 fax
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PAGE 8 of 10

 

 

 

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Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 12 of 13 Page|D #:18

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PAGE 10 of 10

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Case: 1:16-Cv-03367 Document #: 1-1 Filed: 03/16/16 Page 13 of 13 Page|D #:19

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